
The People of the State of New York, Respondent, - 
againstRichard Forbes, Defendant-Appellant.



Defendant appeals from a judgment of the Criminal Court of the City of New York, Bronx County (John H. Wilson, J.), rendered April 4, 2014, after a nonjury trial, convicting him of attempted criminal obstruction of breathing or blood circulation, menacing in the third degree and harassment in the second degree, and imposing sentence.




Per Curiam.
Judgment of conviction (John H. Wilson, J.), rendered April 4, 2014, affirmed.
The verdict was not against the weight of the evidence. The complainant's testimony was corroborated in crucial aspects by the testimony of the responding police officer and photographic evidence of her injuries. Issues raised by defendant concerning complainant's credibility, including inconsistencies in her testimony, were properly considered by the trier of fact and there is no basis upon which to disturb its determinations.
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur I concur 
Decision Date: October 23, 2017










